                       UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION

UNITED STATES OF AMERICA                )
                                        )
             v.                         )       No. 3:11-00082
                                        )       JUDGE TRAUGER
                                        )
SPENCER RANDOLPH (#17), et. al.         )

     AGREED ORDER TO MODIFY CONDITIONS OF SUPERVISED RELEASE

      The defense has moved this Court to Modify the Special Conditions of

Supervision, for Defendant Spencer Randolph, by removing Special Condition of

Supervision One (1), requiring Mr. Randolph to remain at a residential reentry center

(RRC) for one (1) year. The Government does not oppose this Motion. It is hereby

ORDERED that Special Condition of Supervision One (1) is removed, and that Mr.

Randolph remains under supervision with all other conditions remaining in place.



                    18th            March
      ENTERED this ________ day of __________ 2014.



                                                       ____________________
                                                       ALETA A. TRAUGER
                                                       U.S. DISTRICT JUDGE

Approved for Entry:

_/s/ William J. Steed III
WILLIAM J. STEED III
Attorney for Spencer Randolph


_/s/ Sunny A.M. Koshy
Sunny A.M. Koshy
Attorney for Government



                                            1

Case 3:11-cr-00082     Document 1622        Filed 03/18/14   Page 1 of 1 PageID #: 9981
